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                                    UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF ILLINOIS
                                          EASTERN DIVISION

ERPFC Releasing, Inc. (as agent for Crowvision, Inc.)
a California Corporation,                               Case No. 21-cv-05570

                 Plaintiff,                             Judge Sara L. Ellis

v.                                                      Magistrate Judge Maria Valdez

THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE A,

                 Defendants.


                                        NOTICE OF DISMISSAL

            Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

     Dismissal, with prejudice, as to the following Defendants identified on Schedule A:

                              NO.                  DEFENDANT
                               53           ART SOURCE IMP&EXP CO.,LTD
                               77                      JIANIGN
                               97                  NeonPartyShop
                              115                       TPLWS
                              158                  first-super-store
                              178                   BricksByChay
                              179                 CheesyRetroTshirts
                              182                  FLUXTSHIRTS

          Dated:       December 29, 2021           Respectfully submitted,

                                                   /s/ Alison Carter
                                                   Ann Marie Sullivan
                                                   Alison Carter
                                                   Sofia Quezada
                                                   AM Sullivan Law, LLC
                                                   1440 W. Taylor St., Suite 515
                                                   Chicago, Illinois 60607
                                                   Telephone: 224-258-9378
                                                   E-mail: akc@amsullivanlaw.com
                                                   ATTORNEYS FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing

document was electronically filed on December 29, 2021 with the Clerk of the Court using the

CM/ECF system, which will automatically send an email notification of such filing to all registered

attorneys of record.



                                                     /s/ Alison Carter
                                                     Alison Carter
